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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY



                                                 Civil Action No.: 20-cv-00536
WAEL HANA,

                              Plaintiff,

                     -v-

UNITED STATES OF AMERICA

                              Defendant.



       PLEASE TAKE NOTICE that Anne M. Collart, Esq. of Gibbons P.C., who is admitted

to practice in this Court, hereby enters her appearance as counsel on behalf of plaintiff Wael

Hana in the above-captioned matter.




                                           By: s/ Anne M. Collart
 Dated: January 17, 2020                       Anne M. Collart, Esq.
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